       Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 1 of 38



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x
                                                              :
                                                              :   OPINION AND ORDER
IN RE SCOTTS EZ SEED LITIGATION                               :
                                                              :   12 CV 4727 (VB)
                                                              :
--------------------------------------------------------------x
Briccetti, J.:

        Lead plaintiffs Michael Arcuri, David Browne, Gwen Eskinazi, Stacy Lonardo, Lance

Moore, Vance Smith, and Nancy Thomas (collectively, “plaintiffs” or “lead plaintiffs”) bring

this consumer class action against defendants The Scotts Miracle-Gro Company, Inc., and The

Scotts Company LLC (collectively, “Scotts” or “defendants”). Plaintiffs allege causes of action

for false advertising, breach of warranty, and unjust enrichment under New York and California

law.

        Now pending are fifteen motions, consisting of nine Daubert motions (Docs. ##218, 219,

220, 221, 223, 224, 225, 226, 227), cross-motions for summary judgment (Docs. ##216, 222),

defendants’ motion to decertify the class (Doc. #217), defendants’ motion to strike plaintiffs’

Rule 56.1 statement (Doc. #231), and plaintiffs’ motions to strike three declarations in whole or

in part (Docs. ##228, 229). For the following reasons, defendants’ motion to exclude plaintiffs’

expert, Colin B. Weir, is GRANTED in part and DENIED in part; defendants’ motion for

summary judgment is GRANTED in part and DENIED in part; and the remaining motions are

DENIED.

        The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d).

                                               BACKGROUND

        The parties submitted briefs, statements of fact (“SOF”), and declarations (“Decl.”), with

supporting exhibits, which reflect the following factual background.


                                                         1
      Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 2 of 38



        Scotts Turf Builder EZ Seed (“EZ Seed”) is a “combination product” consisting of

mulch, seed, and fertilizer. (Pls.’ SOF ¶ 3). The mulch in EZ Seed is made “from ground and

compressed coconut shell fibers, which are super-absorbent.” (Id. ¶ 4). Retail sale of EZ Seed

began in January 2009. It is sold “in a variety of package sizes, and with varying seed blends, or

‘flavors.’” (Id. ¶ 6).

        During the relevant period, EZ Seed packaging included one of the following claims:

        50% THICKER WITH HALF THE WATER**
        **Versus ordinary seed when each was watered at half the recommended rate.
        Results may vary.

(See Pls.’ Ex. E).

        An alternative version of the claim states:

        50% THICKER WITH HALF THE WATER††
        ††Results 32 days after planting; each watered at half the recommended rate for
        ordinary seed. Results may vary.

(Defs.’ Response to Pls.’ SOF ¶ 10). 1

        In addition, EZ Seed packages included a graphic showing two images side-by-side,

under the “50% THICKER WITH HALF THE WATER††” label, purporting to show a patch of

grass grown using EZ Seed on one side, and using “ordinary seed” on the other. (Pls.’ SOF ¶

12). Below the images, a disclaimer reads: “*Subject to proper care,” 2 and “††Results 32 days


1
       Defendants dispute that every EZ Seed product packaging included the 50% thicker
claim. (See Defs.’ Response to Pls.’ SOF ¶ 42). However, plaintiffs point out the product
defendants cite for this—EZ Seed Dog-Spot Repair—“is not at issue in this case.” (Pls.’ Reply
SOF ¶ 42).
2
        Scotts denies that the “subject to proper care” disclaimer applies to the 50% thicker
claim. It maintains the “proper care” disclaimer relates instead to the claim also included on the
packaging, but not at issue in this lawsuit, which reads, “so you can grow thick, beautiful grass
anywhere!*.” (Defs.’ Response to Pls.’ SOF ¶ 17; see also id. ¶ 165 (“‘proper care’ is not part of
the 50% thicker claim, which, by definition, compares EZ Seed versus ordinary seed when both
are not treated with proper care.”)).



                                                 2
      Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 3 of 38



after planting; each watered at half the recommended rate for ordinary seed. Results may vary.”

(Defs.’ Response to Pls.’ SOF ¶ 17).

       These claims are referred to together as the “50% thicker” claim.

       From January 2009 through 2013, approximately 1,524,812 packages of EZ Seed were

sold in California and approximately 992,338 packages of EZ Seed were sold in New York.

(Defs.’ Ex. 14, Weir Report, ¶ 12).

       “Around the end of 2013” Scotts removed the 50% thicker claim from EZ Seed

packaging. (Defs.’ Ex. 1, David Report, ¶ 52). The last day it shipped EZ Seed with the 50%

thicker claim was on March 4, 2014. (Pls.’ SOF ¶ 29). However, Scotts began to use another

claim—“50% thicker will less water† †Versus ordinary seed when both were watered at less than

the recommended rate, after 21 days. Results may vary.”—on secondary packaging. (Defs.’

Response to Pls.’ SOF ¶ 30). At the same time, Scotts added a claim that EZ Seed “Holds Up to

6X its Weight in Water” to the retail packaging of EZ Seed. (Id. ¶ 34).

       This class action lawsuit is brought by seven named plaintiffs, who purchased EZ Seed in

New York or California between 2010 and 2012. By Memorandum Decision dated January 26,

2015, the Court certified two classes:

       (i)     All persons who purchased EZ Seed in the state of California containing
               the label statement “50% Thicker With Half the Water,” excluding
               persons who purchased for purpose of resale (the “California Class”).

       (ii)    All persons who purchased EZ Seed in the state of New York containing
               the label statement “50% Thicker With Half the Water,” excluding
               persons who purchased for purpose of resale (the “New York Class”).

(Doc. #127, “Class Cert. Decision,” at 3).

       As the Court stated in its decision certifying the class, “[t]he crux of plaintiffs’

complaints is that EZ Seed does not grow grass at all or, in the alternative, does not grow grass

as advertised by the 50% thicker claim.” (Class Cert. Decision at 3). Plaintiffs Browne and


                                                  3
      Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 4 of 38



Smith purchased EZ Seed in California and represent the California Class. The California Class

brings claims under California’s Unfair Competition Law (“UCL”), False Advertising Law

(“FAL”), and Consumer Legal Remedies Act (“CLRA”), in addition to claims for breach of

express warranty and unjust enrichment. Plaintiffs Arcuri, Eskinazi, Lonardo, Moore, and

Thomas purchased EZ Seed in New York and represent the New York Class. The New York

Class brings claims under New York’s General Business Law (“GBL”), in addition to claims for

breach of warranty and breach of contract.

                                          DISCUSSION

       There are currently fifteen motions pending before the Court. The Court will first

address three purely legal issues raised in defendants’ motion for summary judgment, because

those issues affect the remainder of the motions. Second, the Court will address the parties’

competing Daubert motions. Third, the Court will address the remainder of defendants’

arguments for summary judgment and plaintiffs’ motion for summary judgment. Finally, the

Court will resolve defendants’ motion to decertify the class.

I.     Preliminary Issues Raised in Defendants’ Motion for Summary Judgment

       A.      Legal Standard

       The Court must grant a motion for summary judgment if the pleadings, discovery

materials before the Court, and any affidavits show there is no genuine issue as to any material

fact and it is clear the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P.

56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

       A fact is material when it “might affect the outcome of the suit under the governing

law. . . . Factual disputes that are irrelevant or unnecessary” are not material and thus cannot

preclude summary judgment. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).




                                                 4
      Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 5 of 38



         A dispute about a material fact is genuine if there is sufficient evidence upon which a

reasonable jury could return a verdict for the non-moving party. See Anderson v. Liberty Lobby,

Inc., 477 U.S. at 248. The Court “is not to resolve disputed issues of fact but to assess whether

there are any factual issues to be tried.” Wilson v. Nw. Mut. Ins. Co., 625 F.3d 54, 60 (2d Cir.

2010) (citation omitted). It is the moving party’s burden to establish the absence of any genuine

issue of material fact. Zalaski v. City of Bridgeport Police Dep’t, 613 F.3d 336, 340 (2d Cir.

2010).

         If the non-moving party has failed to make a sufficient showing on an essential element

of his case on which she has the burden of proof, then summary judgment is appropriate.

Celotex Corp. v. Catrett, 477 U.S. at 323. If the non-moving party submits “merely colorable”

evidence, summary judgment may be granted. Anderson v. Liberty Lobby, Inc., 477 U.S. at

249-50. The non-moving party “must do more than simply show that there is some metaphysical

doubt as to the material facts, and may not rely on conclusory allegations or unsubstantiated

speculation.” Brown v. Eli Lilly & Co., 654 F.3d 347, 358 (2d Cir. 2011) (internal citations

omitted). The “mere existence of a scintilla of evidence in support” of the non-moving party’s

position is likewise insufficient; “there must be evidence on which the jury could reasonably

find” for it. Dawson v. Cty. of Westchester, 373 F.3d 265, 272 (2d Cir. 2004).

         On summary judgment, the Court construes the facts, resolves all ambiguities, and draws

all permissible factual inferences in favor of the non-moving party. Dallas Aerospace, Inc.

v. CIS Air Corp., 352 F.3d 775, 780 (2d Cir. 2003). If there is any evidence from which a

reasonable inference could be drawn in favor of the non-moving party on the issue on which

summary judgment is sought, summary judgment is improper. See Sec. Ins. Co. of Hartford

v. Old Dominion Freight Line, Inc., 391 F.3d 77, 83 (2d Cir. 2004).




                                                  5
      Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 6 of 38



       In deciding a motion for summary judgment, the Court need only consider evidence that

would be admissible at trial. Nora Bevs., Inc. v. Perrier Grp. of Am., Inc., 164 F.3d 736, 746 (2d

Cir. 1998).

       B.      Worthlessness Claim

       In its class certification decision, the Court noted plaintiffs had two theories of liability:

(i) that “EZ Seed ‘does not grow grass at all’ and thus is worthless,” (the “worthlessness claim”)

and (ii) plaintiffs “paid an inappropriate premium for EZ Seed based on Scotts’ allegedly false

50% thicker claim.” (Class Cert. Decision at 5, 13).

       Defendants now move for summary judgment on the first, “worthlessness claim.”

       In response, plaintiffs contend “there is no such claim in the case.” (Pls.’ Opp. at 1, n.1).

       Accordingly, defendants’ motion for summary judgment on this point is denied as moot,

and plaintiffs’ “worthlessness claim” is dismissed. The only remaining theory of liability is that

the 50% thicker claim was false or misleading.

       C.      The California Claims

       Defendants next argue the California claims must be dismissed because they are entitled

to safe harbor with respect to the 50% thicker claim.

       The Court agrees with respect to the UCL, FAL, and CLRA claims, but not with respect

to the California express warranty claim or the California unjust enrichment claim.

       “‘[C]ourts may not use the unfair competition law to condemn actions the Legislature

permits.’” Alvarez v. Chevron Corp., 656 F.3d 925, 933 (9th Cir. 2011) (quoting Cel-Tech

Commc’ns, Inc. v. Los Angeles Cellular Tel. Co., 20 Cal. 4th 163, 184 (1999)). Specifically,

“‘[i]f the Legislature has permitted certain conduct or considered a situation and concluded no

action should lie, courts may not override that determination.’” Id. (quoting Cel-Tech




                                                  6
      Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 7 of 38



Commc’ns, Inc. v. Los Angeles Cellular Tel. Co., 20 Cal. 4th at 184). In other words, when

legislation provides such a “safe harbor,” “‘plaintiffs may not use the general unfair competition

law to assault that harbor.’” Id. (quoting Cel-Tech Commc’ns, Inc. v. Los Angeles Cellular Tel.

Co., 20 Cal. 4th at 184). See also Ebner v. Fresh, Inc., 838 F.3d 958, 963 (9th Cir. 2016)

(quoting Cel–Tech Commc'ns, Inc. v. Los Angeles Cellular Tele. Co., 20 Cal. 4th at 182) (“In

California, unfair competition claims are subject to the safe harbor doctrine, which precludes

plaintiffs from bringing claims based on ‘actions the Legislature permits.’”). “This rule applies .

. . to actions by the California legislature.” Martin v. Medtronic, Inc., 2017 WL 825410, at *15

(E.D. Cal. Feb. 24, 2017) (citing Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152, 1164 (9th

Cir. 2012)). “For the safe harbor doctrine to apply, the challenged conduct must be

‘affirmatively permitted by statute—the doctrine does not immunize from liability conduct that is

merely not unlawful.’” Id. (quoting Ebner v. Fresh, Inc., 838 F.3d at 963). “[C]ourts have

recognized that the [safe harbor] doctrine equally applies to claims under the [UCL,] CLRA and

FAL.” Barber v. Nestlé USA, Inc., 154 F. Supp. 3d 954, 958 (C.D. Cal. 2015) (citations

omitted).

       The California Department of Food and Agriculture (“CDFA”) regulates fertilizing

material and, in particular, is charged with registering labels used on fertilizers pursuant to the

California Food and Agricultural Code (“CFAC”). (See Regan Ex. 21, Gunasekara Decl., ¶ 3).

The CFAC requires that “[e]very lot, parcel, or package of fertilizing material distributed into or

within this state shall have . . . a label as required by the secretary, by regulation.” CFAC §

14631. It further states “[t]he secretary may require proof of labeling statements and claims

made for any fertilizing material,” and that “[t]he secretary shall cancel the approval of, or refuse

to approve, a fertilizing material label if the secretary determines that adequate proof of label




                                                  7
      Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 8 of 38



claims does not exist.” Id. In addition, Section 14681 of the CFAC prohibits the distribution of

“misbranded fertilizing materials,” which includes fertilizing materials that contain “labeling

[that] is false or misleading in any particular way.”

        Here, on July 28, 2008 and December 8, 2009, Scotts submitted applications to the

CDFA for fertilizing material registrations to substantiate the 50% thicker claim. (Pls.’ SOF ¶

734). The CDFA reviewed four studies Scotts submitted to support the claim. By letter dated

April 14, 2010, a senior scientist at the CDFA informed Scotts of the CDFA’s conclusion that the

50% thicker claim was substantiated. (Pls.’ Ex. UUU, Nov. 17, 2015, Gunasekara Decl., ¶ 14,

Ex. 8). Accordingly, the California safe harbor applies here.

        Plaintiffs contend summary judgment on this point is inappropriate because one of the

studies the CDFA relied on when it approved the 50% thicker claim “was a complete fake.”

(Pls.’ Br. at 1). In particular, plaintiffs point out that one field trial the CDFA scientist relied on

states on the first few pages that the trial was conducted in Gainesville, Florida, but in fact—as

indicated on subsequent pages—it was conducted in Marysville, Ohio. (Pls.’ SOF ¶ 745; Pls.’

Ex. WWW). Plaintiffs have not, however, submitted any evidence that supports the conclusion

that this renders the study a “fake.” They cite deposition testimony by two CDFA scientists who

stated they personally did not create or catch an error in what Scotts submitted. (Pls.’ Ex. XXX,

Ba Dep., at 61 (“Q: Can you explain why there’s data from Ohio attached to a report that says

it’s from Gainesville, Florida? A: Well, that [sic] speculation on my part. . . . Q: You did not do

that? A: Of course not.”); Pls.’ Ex. CCC, Gunasekara Dep., at 49 (“it’s definitely an oversight

on my part that I didn’t catch that.”). Neither scientist testified or suggested the study was a

“fake.” Moreover, the CDFA scientist who originally reviewed the 50% thicker claim re-

reviewed his work in connection with this litigation and submitted an affidavit stating, among




                                                   8
      Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 9 of 38



other things, that it is his “and the CDFA’s belief that Scotts has not submitted ‘fabricated’ data

or ‘fake’ studies,” which is “confirmed by the fact that the CDFA has not made any efforts to

penalize Scotts (as CDFA is statutorily authorized to do) . . . [n]or does the CDFA have any

intentions of penalizing Scotts or referring Scotts to the Attorney General with respect to its EZ

Seed Application.” (Regan Decl. Ex. 129, Aug. 25, 2016, Gunasekara Decl. at ¶ 11).

        Based on a careful review of all of the relevant testimony and documents put forward by

the parties, the Court finds no reasonable jury could conclude the Scotts trial was a “fake,” and

therefore there is no issue of material fact as to this issue.

        Finally, plaintiffs argue the CDFA’s review was not “sufficiently formal to trigger” the

application of the safe harbor. However, the Court agrees with defendants that the question of

whether there was “a formal and deliberative process akin to notice and comment rulemaking or

an adjudicative enforcement action,” applies only to federal agency approval. Hofmann v. Fifth

Generation, Inc., 2015 WL 7430801, at *6 (S.D. Cal. Nov. 20, 2015) (“a federal regulator’s

actions create a safe harbor only under the same circumstances required for preemption,” where

“the agency’s actions ‘[are] the result of a formal, deliberative process akin to notice and

comment rulemaking or an adjudicative enforcement action.’”) (quoting Koenig v. Snapple

Beverage Corp., 713 F. Supp. 2d 1066, 1076 (E.D. Cal. 2010)). The cases addressing approval

by California state agencies do not discuss such a requirement. See e.g., Alvarez v. Chevron

Corp., 656 F.3d at 933–34.

        Accordingly, defendants are entitled to summary judgment with respect to the California

UCL, FAL, and CLRA claims. However, neither party addressed in their briefing what affect

this has on the California express warranty claim or the California unjust enrichment claim, both




                                                    9
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 10 of 38



of which the Court previously determined to be appropriate for class treatment. (Class Cert.

Decision at 18-19). Accordingly, at least for now, those claims may proceed.

       D.      Statutory Damages Under New York GBL Sections 349 and 350

       Defendants next argue statutory damages are not available in class actions brought under

New York GBL Sections 349 and 350. 3

       The Court disagrees.

       Defendants assert that “[w]hen the New York legislature amended sections 349 and 350

to permit private rights of action [prior to which only the New York Attorney General could

enforce these sections], it did so on the condition that statutory damages would not be

recoverable under sections 349 and 350 in a class action.” (Defs.’ Br. at 7). They point to

legislative history that indicates the original bill as proposed would have expressly permitted

class actions, but that bill was rejected. Ultimately, a compromise was reached to maintain the

ability to recover statutory damages under Sections 349 and 350, but to strike the language that

specifically authorized class action suits. The intended effect of this compromise was to permit

class actions under GBL 349 and 350, but with the understanding that such class actions would

be limited by Section 901(b) of the New York Civil Practice Law and Rules (“CPLR”) 4 to the

recovery of actual damages only. 5


3
       Defendants make the same argument in their motion for class decertification papers. The
Court has considered all of the briefing on this point in reaching its conclusion in this section.
4
       Section 901(b) provides: “Unless a statute creating or imposing a penalty, or a minimum
measure of recovery specifically authorizes the recovery thereof in a class action, an action to
recover a penalty, or minimum measure of recovery created or imposed by statute may not be
maintained as a class action.”
5
         See, e.g., Defs.’ Ex. 31 (“[T]his bill differs from a bill passed by the Assembly earlier this
session . . . which specifically authorized class action suits. That provision . . . was deleted in an
effort to strike a compromise with the Senate. It should be noted that this change does not bar
class actions . . . rather, class actions, for actual damages (not s[t]atutory damages) would still lie


                                                  10
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 11 of 38



       However, the Supreme Court in Shady Grove Orthopedic Associates, P.A. v. Allstate Ins.

Co., 559 U.S. 393 (2010) (“Shady Grove”) addressed the interplay between Section 901(b) and

Rule 23 of the Federal Rule of Civil Procedure and determined that, because Rule 23 permits

class actions to be maintained with certain specific criteria, but contains no limitation on the

types of damages recoverable, Section 901(b)’s limitation on the ability to maintain class actions

only for actual damages conflicted with Rule 23, and therefore could not stand, at least in federal

court. Shady Grove, 559 U.S. at 399 (“Because § 901(b) attempts to answer the same question—

i.e., it states that Shady Grove’s suit “may not be maintained as a class action” (emphasis added)

because of the relief it seeks—it cannot apply in diversity suits unless Rule 23 is ultra vires.”).

See also Kurtz v. Kimberly-Clark Corp., 2017 WL 1155398, at *11 (E.D.N.Y. Mar. 27, 2017)

(“A majority of the Court concluded that section 901(b) and Rule 23 do conflict, and that Rule

23 represents a lawful exercise of Congress’s procedural rulemaking power.”).

       Defendants claim Shady Grove is inapplicable and statutory damages are not permitted

because “in affirmatively amending the substantive law (GBL §§ 349 and 350) to add private

rights of action under each, the legislature sought to allow for recovery, in a class action, of

actual damages but not statutory damages.” (Defs.’ Br. at 9). They point to language in Shady

Grove stating that the Court did not need to “decide whether a state law that limits the remedies

available in an existing class action would conflict with Rule 23.” 559 U.S. at 401.




under Article 9 of the CPLR.”); Defs.’ Ex. 32 (“This bill does not diminish a part[y’]s right to
initiate a class action. However, in a class action suit the plaintiffs could recover only actual
damages under CPLR §901(b).”); and Defs.’ Ex. 30 (“By taking class action language out of the
bill and by inserting the limiting language of ‘may bring an action in his own name to enjoin’
instead of ‘may bring an action in his own name on behalf of a class of similarly situated
persons’ I feel a fair compromise was set upon.”).



                                                 11
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 12 of 38



       The problem with defendants’ argument is that GBL Sections 349 and 350 do not on their

face prohibit statutory damages in class actions. 6 Instead, the legislative history shows the

legislators’ intent was specifically to rely on CPLR Section 901(b) for that prohibition. But

Section 901(b) is no longer valid in federal court after Shady Grove.

       Even though the Court does not agree with the implications of Shady Grove—including

that class actions for statutory damages under Sections 349 and 350 may be brought in federal

court, but not state court—it is constrained by them. See Kurtz v. Kimberly-Clark Corp., 2017

WL 1155398, at *58 (“A certified damages class under Rule 23 is not controlled by section

901(b)—statutory damages under section 349(h) are available on a class basis in federal court,

even though they would be barred by section 901(b) if the same action were to proceed in state

court.”); Guido v. L’Oreal, USA, Inc., 2013 WL 3353857, at *16–17 (C.D. Cal. July 1, 2013)

(“The Court acknowledges that, under New York procedural rules, a class action to recover

statutory damages under section 349(h) cannot be maintained [under N.Y. C.P.L.R. § 901(b)] . . .

These rules do not apply to a class action proceeding in federal court, however, despite the risk

of forum shopping this divergence in state and federal law creates.”).

       Finally, defendants argue statutory damages in this case “would be grossly excessive and

offend due process.” (Defs.’ Br. at 13). The Court is sympathetic to defendants’ position;

however, this argument is premature at this stage. The Court cannot determine as a matter of law



6
        In relevant part, Section 349(h) provides, “[i]n addition to the right of action granted to
the attorney general pursuant to this section, any person who has been injured by reason of any
violation of this section may bring an action in his own name to enjoin such unlawful act or
practice, an action to recover his actual damages or fifty dollars, whichever is greater, or both
such actions.” Section 350(e) provides, “[a]ny person who has been injured by reason of any
violation of section three hundred fifty or three hundred fifty-a of this article may bring an action
in his or her own name to enjoin such unlawful act or practice, an action to recover his or her
actual damages or five hundred dollars, whichever is greater, or both such actions.”



                                                 12
      Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 13 of 38



that the “the aggregation in [this] class action of large numbers of statutory damages claims . . .

distorts the purpose of both statutory damages and class actions.” Parker v. Time Warner

Entm’t Co., L.P., 331 F.3d 13, 22 (2d Cir. 2003). Defendants’ motion is therefore denied in this

respect without prejudice to raising it again if and when a jury has actually awarded damages, at

which time defendants may make the appropriate motion for a reduction of that award. See id.

(“[I]t may be that in a sufficiently serious case the due process clause might be invoked, not to

prevent certification, but to nullify that effect and reduce the aggregate damage award.”).

       Accordingly, the Court concludes statutory damages under GBL Sections 349 and 350

are available to the New York Class. Defendants’ motion for summary judgment with respect to

statutory damages under GBL Sections 349 and 350 must therefore be denied.

II.    Daubert Motions

       The Court next turns to the parties’ competing motions for the exclusion of expert

testimony under Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993) (“Daubert”). In

particular, defendants seek to exclude the expert opinions of J. Michael Dennis, Colin B. Weir,

and Douglas E. Karcher. 7 Plaintiffs, for their part, move to exclude defendants’ experts Bryan

Hopkins, Douglas Soldat, Eric Nelson, and Michael Faust, and they seek to prohibit defendants

from presenting any expert testimony regarding consumer understanding of the 50% thicker

claim, or any testimony regarding the existence or amount of the price premium attributable to

the 50% thicker claim.

       With the exception of defendants’ motion as to Weir, which is granted in part as

explained below, all these motions are denied.


7
       By Notice dated September 1, 2016, plaintiffs withdrew the January 7, 2016, declaration
and report of another of their experts, Dr. R. Sukumar. (Doc. #263). Defendants’ motion for the
exclusion of Dr. Sukumar (Doc. #218) is therefore denied as moot.



                                                 13
        Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 14 of 38



         A.     Legal Standard

         Under Rule 702 of the Federal Rules of Evidence, a witness “who is qualified as an

expert by knowledge, skill, experience, training, or education may testify in the form of an

opinion or otherwise if: (a) the expert’s scientific, technical, or other specialized knowledge will

help the trier of fact to understand the evidence or to determine a fact in issue; (b) the testimony

is based on sufficient facts or data; (c) the testimony is the product of reliable principles and

methods; and (d) the expert has reliably applied the principles and methods to the facts of the

case.”

         “In Daubert, the Supreme Court articulated four factors pertinent to determining the

reliability of an expert’s reasoning or methodology: (1) whether the theory or technique relied on

has been tested; (2) whether the theory or technique has been subjected to peer review and

publication; (3) whether there is a known or potential rate of error and the existence and

maintenance of standards controlling the technique’s operation; and (4) whether the theory or

method has been generally accepted by the scientific community.” Kass v. W. Bend Co., 2004

WL 2475606, at *4 (E.D.N.Y. Nov. 4, 2004), aff’d, 158 F. App’x 352 (2d Cir. 2005) (summary

order) (citing Daubert, 509 U.S. at 593-94). However, these factors do not constitute a definitive

checklist or test, and the admissibility of expert testimony depends on the particular

circumstances of each case. Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 150 (1999)

(“Kumho Tire”).

         “‘The inquiry envisioned by Rule 702 is . . . a flexible one,’ and ‘the gatekeeping inquiry

must be tied to the facts of a particular case.’” Amorgianos v. Nat’l R.R. Passenger Corp., 303

F.3d 256, 266 (2d Cir. 2002) (quoting Daubert, 509 U.S. at 594 and Kumho Tire, 526 U.S. at

150).




                                                  14
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 15 of 38



        “Even in light of Daubert and its progeny, exclusion of expert testimony remains the

exception rather than the rule. Instead, ‘[v]igorous cross-examination, presentation of contrary

evidence, and careful instruction on the burden of proof are the traditional and appropriate means

of attacking shaky but admissible evidence.’” Qube Films Ltd. v. Padell, 2016 WL 888791, at *2

(S.D.N.Y. Mar. 1, 2016) (quoting Daubert, 509 U.S. at 596; other citations and quotations

omitted).

       Moreover, “in analyzing the admissibility of expert evidence, the district court has broad

discretion in determining what method is appropriate for evaluating reliability under the

circumstances of each case.” Amorgianos v. Nat’l R.R. Passenger Corp., 303 F.3d at 265. That

discretion is particularly broad where the area of expertise in question is not a so-called “hard

science.” See E.E.O.C. v. Bloomberg L.P., 2010 WL 3466370, at *14 (S.D.N.Y. Aug. 31, 2010)

(“Because there are areas of expertise, such as the social sciences in which the research, theories

and opinions cannot have the exactness of hard science methodologies, trial judges are given

broad discretion to determine ‘whether Daubert’s specific factors are, or are not, reasonable

measures of reliability in a particular case.’) (quoting Kumho Tire, 526 U.S. at 153). Still,

“nothing in either Daubert or the Federal Rules of Evidence requires a district court to admit

opinion evidence which is connected to existing data only by the ipse dixit of the expert.” Gen.

Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).

       “The proponent of expert testimony bears the burden of establishing its admissibility by a

preponderance of the evidence.” Baker v. Urban Outfitters, Inc., 254 F. Supp. 2d 346, 353

(S.D.N.Y. 2003).




                                                 15
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 16 of 38



       B.      J. Michael Dennis

       First, defendants move to exclude the opinions of J. Michael Dennis, Ph.D.

       Plaintiffs offer Dr. Dennis as an expert to opine on the value and consumer perception of

the 50% thicker claim. Dr. Dennis’s analysis consists of a two-part survey: (i) a contingent

valuation method (“CVM”) survey, to measure grass seed purchasers’ valuation of EZ Seed with

and without the 50% thicker claim, and (ii) a consumer-perception survey, to measure

purchasers’ understanding and expectations about the 50% thicker claim (“consumer perception

survey”).

       Defendants do not contest Dr. Dennis’s expert qualifications. Instead, they argue the

methodologies he applied warrant exclusion of his testimony here. In particular, defendants

argue Dr. Dennis’s opinions must be excluded for at least ten reasons: (i) he failed to survey the

proper universe; (ii) he failed to include a control group; (iii) the CVM survey measured

subjective willingness to pay, not price premium; (iv) the CVM survey itself cannot provide an

accurate or reliable damages assessment; (v) the CVM survey did not replicate market

conditions; (vi) the CVM survey was leading and biased; (vii) the consumer perception survey

was biased; (viii) the consumer perception survey omitted key label information such as watering

instructions from the package shown to respondents; (ix) the consumer perception survey lacked

open-ended questions, rendering it suggestive; and (x) the consumer perception survey did not

test consumer understanding.

       Each of these arguments “ultimately go to the weight, not the admissibility, of [Dr.

Dennis’s] testimony and are fodder for cross-examination, not exclusion.” In re Gen. Motors

LLC Ignition Switch Litig., 2017 WL 2664199, at *2 (S.D.N.Y. June 20, 2017).




                                                16
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 17 of 38



       First, Dr. Dennis has thoroughly explained the rationale behind his decisions in

constructing the CVM and consumer perception surveys. For example, he explains “[t]here is no

such thing” as a control group in CVM, and that “[i]n more than 12 years of designing and

conducting CVM surveys, I have never employed a control group or seen another expert use a

control group in a CVM study.” (Dennis Reply Decl. ¶ 23). This is not his so-called ipse dixit;

he is relying on his extensive experience in the field, which defendants do not question. This is

of course open to attack on cross-examination or via testimony of one or more of defendants’

witnesses.

       Likewise, defendants’ argument that Dr. Dennis should have surveyed people who

purchased and used EZ Seed or a “comparable combination product,” rather than people who

had previously purchased a combination product or ordinary grass seed (Defs.’ Br. at 6-7), goes

to the weight, not admissibility of Dr. Dennis’s opinions. Defendants argue this failure

“undermines [Dr. Dennis’s] entire CVM analysis” because he never asked what the survey

respondents would pay for the product with the claim, instead assuming they would be willing to

pay the survey-set price of $15.00. (Id. at 7). However, Dr. Dennis makes clear he relied on

“actual Scotts EZ Seed price data and advertising circulars” when setting the $15.00 price for the

product with the 50% thicker claim. (Defs.’ Ex. 11, Dennis Decl., at ¶ 34). Defendants’

quibbles with whether this was the best starting point price are “insufficient to render the survey

inadmissible.” Louis Vuitton Malletier S.A. v. Sunny Merch. Corp., 97 F. Supp. 3d 485, 510

(S.D.N.Y. 2015).

       The Court similarly rejects defendants’ argument that Dr. Dennis’s CVM survey should

be excluded because it measured respondents’ willingness to pay, not price premium. At the

Daubert stage, the Court is tasked with determining whether the expert testimony will “assist the




                                                17
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 18 of 38



trier of fact to understand the evidence or to determine a fact in issue.” Daubert, 509 U.S. at 591

(quoting Rule 702). “This condition goes primarily to relevance,” and “‘[e]xpert testimony

which does not relate to any issue in the case is not relevant and, ergo, non-helpful.’” Id.

(quoting 3 J. Weinstein & M. Berger, WEINSTEIN’S EVIDENCE ¶ 702[02], at 702–18 (1988)).

Even if defendants are right that Dr. Dennis does not measure the precise price premium amount

attributable to the 50% thicker claim, his analysis is relevant to the issue of injury at the very

least, and provides some evidence of a price premium. It will assist the trier of fact because, as

defendants admit, it shows at least half of the equation—the demand side. Their critique that it

says nothing about the supply side is appropriate for cross-examination, but does not warrant

exclusion. Dzielak v. Whirlpool Corp., 2017 WL 1034197, at *19 (D.N.J. Mar. 17, 2017)

(“Defendants’ challenges to the ‘willingness to pay’ and survey population components go to

weight, not admissibility. The defendants’ criticisms are far from frivolous. Those criticisms,

however, do not so undermine the reliability of Dr. Dennis’s methods or their application to the

case as to warrant exclusion.”). 8

       The Court similarly rejects defendants’ argument that CVM “does not provide a good

basis for . . . accurate damages assessments in judicial proceedings,” (Defs.’ Br. at 12 (internal

quotations omitted)), and that CVM is better suited to measure the value of items “not ordinarily

bought and sold,” such as public goods. (Id. at 11 (internal quotations omitted)). There is at

least one reason this is appropriate here: no version of EZ Seed was sold on the market during


8
        Moreover, the price premium measurement of damages is less important in light of the
fact that statutory damages are available for the New York class bringing claims under New
York GBL Sections 349 and 350 (and because the Court dismisses most of the California
claims), as explained above. Because statutory damages are available for the New York class,
and likely to be greater than an individual’s actual damages, the calculation of damages are
easily measured without an elaborate calculation of the difference between the actual price and
the theoretical price of EZ Seed without the 50% thicker claim.



                                                  18
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 19 of 38



the relevant period without the 50% thicker claim (other than the EZ Seed Dog-Spot Repair

mentioned supra n.1, which is “not at issue in this case”), and thus there was an “absence of

actual market transactions that would reveal the value that consumers place on the product

without the ‘50% thicker’ label.” (Dennis Report ¶ 30). Therefore, the CVM survey “creates

such a hypothetical marketplace where consumers can compare the two products.” (Id.). As a

result, the Court concludes CVM was “a reasonable, reliable methodology” for Dr. Dennis to

have used. Dzielak v. Whirlpool Corp., 2017 WL 1034197, at *17; see also Kurtz v. Kimberly-

Clark Corp., 2017 WL 1155398, at *58.

       Defendants also argue Dr. Dennis did not include a “control question”—meaning

questions with a “don’t know” or “no opinion” possible response—in parts of his survey. (Defs.’

Br. at 17). However, a review of the survey itself shows that many of the questions did have

such questions. (See Dennis Report, Attachment F, pp. 22-24). His decision to have some but

not all of his questions include control answers is fodder for cross-examination.

       Defendants argue Dr. Dennis’s CVM survey creates “biasing demand artifacts,”

“focalism bias,” and “starting point bias.” (Defs.’ Br. at 18-20). They argue Dr. Dennis’s survey

highlights the 50% thicker claim, and forces the survey respondents to focus on that claim. This

“suggest[s] to respondents that the claim bears significance.” (Id. at 19). This is different from a

real-life in-store purchase, where the 50% thicker label “is one of many [labels] on a product that

is one of many [products] available for purchase, making it far less likely that consumers will

focus” on it. (Id.). Similarly, they argue Dr. Dennis’s survey creates starting point bias by

giving respondents only two potential “starting ‘bids’ of $12 or $14,” which causes respondents

to be “anchored” to those starting bids. (Id. at 20).




                                                 19
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 20 of 38



        But Dr. Dennis carefully explained the efforts he went through to ensure the reliability of

his survey results. For example, Dr. Dennis explains that he “modified the branding and product

descriptors of the EZ Seed product to disguise the EZ Seed product from the purchasers

responding to the survey . . . in order to prevent respondents from answering the valuation

questions by relying on pre-existing beliefs, opinions, and attitudes towards the Scotts brand

name.” (Dennis Report ¶ 22). He further explains that by creating this “fictitious product” he

“was able to isolate the effect of the ‘50% thicker’ label and prevent extraneous variables, such

as brand name, from influencing respondents’ valuations.” (Id.). Moreover, he used an

established surveying company to build his survey and conducted an “incidence check survey” to

estimate the percentage of the surveyed population that would meet the target group of “qualified

grass seed purchasers.” (Dennis Report ¶ 49). He also pre-tested the survey questionnaire to

assure its quality and identify improvements. (See id. ¶¶ 50-52). In addition, he carried out

telephone interviews with seven pre-test respondents to determine whether any of his questions

were confusing or unclear, and made certain revisions accordingly based on these interviews.

(Id. ¶¶ 55-56). The Court again concludes Dr. Dennis’s methods “do not raise significant

Daubert problems,” and any weaknesses may be more properly brought out on cross-

examination. Dzielak v. Whirlpool Corp., 2017 WL 1034197, at *20.

        Finally, for largely the same reasons the Court accepts the CVM survey as reliable under

Daubert, the Court concludes Dr. Dennis’s methodology in the consumer perception survey will

assist the trier of fact in evaluating issues in this case, is based on sufficient facts and data, and is

“the product of reliable principles and methods,” and that Dr. Dennis has “reliably applied

th[ose] principles and methods to the facts of th[is] case.” Rule 702; see also Daubert, 509 U.S.

at 594-95. Plaintiffs’ criticisms to the contrary “ultimately go to the weight, not the




                                                   20
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 21 of 38



admissibility, of [Dr. Dennis’s] testimony and are fodder for cross-examination, not exclusion.”

In re Gen. Motors LLC Ignition Switch Litig., 2017 WL 2664199, at *2.

       C.      Colin B. Weir

       Next, defendants move to exclude the opinions of Colin B. Weir.

       Plaintiffs’ offer Weir as an expert to opine on damages calculations. Weir’s analysis

consisted of providing a damages calculation “on a Class-wide basis using common evidence

resulting from Plaintiffs’ theories of liability.” (Defs.’ Ex. 14, Weir Report ¶ 3).

       Here, again, defendants do not contest Weir’s qualifications as an expert. Instead, they

argue his methodologies warrant exclusion.

       The Court agrees in part with defendants’ arguments.

       In his January 8, 2016, report, Dr. Weir provides three proposed damages models: (i) full

compensatory damages, (ii) price premium damages, and (iii) statutory damages.

       For the full compensatory damages calculation, Weir proposes multiplying the average

price per unit of EZ Seed—$20.79 in California, and $21.35 in New York—by the total number

of sales in each state. Alternatively, he proposes “using only sales data from four retailers:

Home Depot, Lowes, Walmart and Sam’s Club,” which “comprise some 74% of all of the

Product units sold in California and New York during the class period.” (Weir Report ¶¶ 10,

15). The Court concludes this proposed damages calculation does not “fit” with any of the

theories of the case. Daubert, 509 U.S. at 591.

        In particular, full compensatory damages would be relevant if plaintiffs still claimed EZ

Seed does not grow grass at all, and therefore consumers are entitled to a full refund. However,

plaintiffs have withdrawn that claim. (See Pls. Opp. to Defs.’ Motion for Summary Judgment, p.

1, n.1 (“[T]here is no such claim in this case.”)). Accordingly, because this damages model does




                                                  21
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 22 of 38



not relate to an issue in the case, it is not relevant or admissible. Daubert, 509 U.S. at 591; see

also Comcast Corp. v. Behrend, 569 U.S. 27 (2013).

       Next, Weir proposes calculating price premium damages in three ways.

       First, he proposes relying on a single Scotts document, which states “[c]onsumers are

already paying a 34% premium for EZ Seed compared to using seed, soil and starter combined

on a sq ft coverage basis.” (Defs.’ Ex. 43 at SMG-EZ009018; Weir Report ¶ 27). Based on this

document alone, Weir proposes applying a 34% price premium to the total retail sales in dollars

to calculate price premium damages. However, this is insufficiently reliable under Daubert. As

Weir himself admits, the document “does not appear to include controls to ensure the entire

premium is attributable solely to the [50% thicker claim].” (Weir Report ¶ 29). Moreover, as

Scotts points out, “[t]here are a number of differences between EZ Seed and its physical

components sold separately including . . . the convenience of purchasing one product instead of

three.” (Defs.’ Br. at 17). Accordingly, Weir will not be permitted to testify regarding his price

premium calculation relying on this Scotts document. See Dzielak v. Whirlpool Corp., 2017

WL 1034197, at *24 (“to extract a 55.7% Energy Star price premium for the Washers based on

this document, without any independent investigation into the data depicted in the document, is

just too much.”).

       Second, Weir proposes relying on Dr. Sukumar’s estimation of the price premium to

calculate price premium damages. However, plaintiffs have withdrawn Dr. Sukumar’s report.

(See Doc. #263). Accordingly, Weir’s methodology relying on it may not be used at trial.

       However, the Court concludes Weir’s third proposed method of calculating price

premium damages is admissible. In particular, he relies on the expert work and report of Dr.

Dennis for the price premium percentage, then applies that to the total retail sales for a damages




                                                 22
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 23 of 38



calculation. (Weir Report ¶¶ 30-34). The Court concluded above that Dr. Dennis’s opinions are

admissible. Because Weir’s application of that analysis to calculate damages will be helpful to a

jury, is based on sufficient facts and data, and the principles and methods he uses are reliable and

reliably applied, it is admissible.

        The Court rejects defendants’ argument that Weir is merely “bootstrapping” his

testimony on that of Dr. Dennis, and that the probative value of his “elementary multiplication is

virtually zero.” (Def. Br. at 13). As Weir explains, he “reviewed the production of sales

records” in addition to “data that appear to show the number of wholesale packages of EZ Seed

Products sold by Scotts,” and calculated the “average price per unit.” (Weir Report ¶¶ 10-11).

He then used the results of Dr. Dennis’s survey as an “input” in his damages calculation. (Id. ¶

34). This evidence will “assist the trier of fact to understand the evidence or to determine a fact

in issue.” Fed. R. Evid. 702.

        Finally, Weir’s damages calculations are admissible with respect to the calculation of

statutory damages under New York GBL Sections 349 and 350. He uses the sales data numbers

from Home Depot, Lowes, Walmart and Sam’s Club and total retail sales for the number of

“violations” and multiplies that by the statutory amounts of $50 (for the New York GBL Section

349 claim) and $500 (for the New York GBL Section 350 claim). Although hardly a

complicated analysis, his testimony and explanation of his calculations will assist the trier of fact

in understanding how he calculated the number of “violations”—which defendants are of course

welcome to attack on cross-examination—and how that translates into a total damages amount.

Defendants’ criticisms of this methodology are well-taken, but fall short. Ultimately, they are

“largely beside the point [because] [o]nce an injury is established, statutory damages can be

precisely calculated for each class member.” Kurtz v. Kimberly-Clark Corp., 2017 WL




                                                 23
      Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 24 of 38



1155398, at *57. The Court thus concludes it is permissible to have Weir explain this calculation

to the jury.

        D.     Douglas E. Karcher

        Defendants also move to exclude the opinions of Douglas E. Karcher, Ph.D.

        Plaintiffs’ offer Dr. Karcher as a turfgrass expert. Dr. Karcher conducted a trial to test

the growth of Scotts EZ Seed as compared to ordinary seed when each was watered at half the

recommended rate. In addition, Dr. Karcher reviewed eighteen trials conducted by Scotts

research scientists and university scientists.

        Again, defendants do not contest Dr. Karcher’s qualifications as an expert; instead, they

argue his methodologies and opinions are flawed and unreliable. In particular, they argue Dr.

Karcher made at least eight errors that render his analysis unreliable, as follows:

        •      Dr. Karcher failed to follow “basic scientific method” when he conducted his
               grass seed trial, primarily because he introduced more than one independent
               variable, only tested “a single package of EZ Seed that he mail ordered from an
               unknown vendor on Amazon.com,” and then “failed to account for the possibility
               of non-viable seed.” (Defs.’ Br. at 10).

        •      Dr. Karcher compared two different groups of grass species and used a “flavor” of
               EZ Seed not sold in Arkansas, where he tested it. (Defs.’ Br. at 13-15).

        •      Dr. Karcher failed to control for certain variables—including seed count, mulch,
               fertilizer, and raking—rendering his test unreliable. (Defs.’ Br. at 15-16).

        •      Dr. Karcher improperly used “reference evapotranspiration,” or “ETo”—an
               estimate of the amount of water lost to evaporation (from the soil surface) and
               transpiration (from the plant leaves)—instead of trying to determine the actual
               ET, to determine how much water to use to water at full and half rates. (Defs.’
               Br. at 17-18).

        •      Dr. Karcher did not test “ordinary seed” because he added mulch and fertilizer to
               plain seed. (Defs.’ Br. at 19).

        •      Dr. Karcher did not follow the directions included on the EZ Seed package
               requiring a “deep and thorough initial watering.” (Defs.’ Br. at 21).




                                                 24
       Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 25 of 38



        •      Dr. Karcher’s reliance on publicly available 30 year average ETo calculations
               taken from RainMaster.com was improper because this data is “completely
               divorced from the actual conditions experienced during the Scotts trials.” (Defs.’
               Br. at 23).

        •      Dr. Karcher’s results “could be highly prejudicial to a jury,” and “are not
               probative as to the truth or falsity of the 50% Thicker claim.” (Defs.’ Br. at 24-
               25).

        Ultimately, the Court concludes each of these critiques goes to the weight, not the

admissibility of Dr. Karcher’s testimony. They can be brought out through cross-examination or

the introduction of other relevant evidence at trial. Dr. Karcher’s grass seed trial and opinions

are relevant to a central issue in the case—whether the 50% thicker claim is misleading—and it

will help a jury better understand that issue. In addition, plaintiffs have met their burden of

showing that Dr. Karcher used scientific data and reliable principles and methods which were

reliably applied. For example, they explain that Dr. Karcher has now “confirmed that the EZ

Seed he tested was viable” (Pls.’ Opp. at 9); the “flavor” of EZ Seed he tested was “the most

similar to the EZ Seed products sold to each of the seven named plaintiffs” (id. at 10); he applied

fertilizer and mulch to the ordinary seed and raked it because he was testing EZ Seed against

ordinary seed when both were “subject to proper care with the exception of applying the

recommended rate of water” (id. at 13); and he explained that the use of ETo is “well-accepted in

the turfgrass science community to irrigate establishing turfgrass from seed in bare soil.” (Id. at

15).

        Accordingly, the motion to exclude Dr. Karcher is denied.

        E.     Douglas Soldat

        Turning now to plaintiffs’ motions to exclude defendants’ experts, plaintiffs’ first move

to exclude Douglas Soldat, Ph.D.




                                                 25
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 26 of 38



       Defendants offer Dr. Soldat as an expert on “the water holding and release characteristics

of Scotts EZ Seed.” (Marchese Decl. Ex. TTT, Soldat Report, ¶ 2).

       Plaintiffs argue Dr. Soldat’s opinions should be excluded under Rules 401 and 702.

(Doc. #227). However, they do not take issue with Dr. Soldat’s credentials or with his

methodology. Instead, they argue his opinions are “not relevant to any issue in this case”

because he did not test the 50% thicker claim. (Pls. Br. at 1-2).

       It appears Dr. Soldat’s opinions relate to plaintiffs’ first theory of liability—that EZ Seed

does not grow grass at all. (Defs.’ Opp. at 1 (“Dr. Soldat’s expert opinions directly refute the

allegations made in the very first paragraph of Plaintiffs’ complaint . . . that ‘EZ Seed does not

grow grass at all and thus is worthless.’”)). Plaintiffs have now abandoned that claim.

Defendants’ opposition to plaintiffs’ motion contains one sentence suggesting Dr. Soldat may be

called to testify regarding the 50% thicker claim: “[E]ven if ‘half the water’ is the only relevant

issue, Dr. Soldat’s trial provides insight on the performance of EZ Seed at any water content.”

(Defs.’ Opp. at 3).

       Because it is likely Dr. Soldat will not be called to testify at trial now that the

worthlessness claim has been eliminated from the case, the Court denies as moot plaintiffs’

motion to exclude Dr. Soldat, without prejudice to renewal should defendants seek to call Dr.

Soldat to testify regarding the 50% thicker claim.

       F.      Bryan Hopkins

       Plaintiffs also move to exclude the opinions of Bryan Hopkins, Ph.D.

       Defendants offer Dr. Hopkins as a turfgrass expert.

       Plaintiffs argue Dr. Hopkins failed to make a required disclosure, is not qualified to

testify as a turfgrass expert, and that his methodologies are deficient.

       The Court disagrees.


                                                 26
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 27 of 38



        First, plaintiffs argue Dr. Hopkins’s report does not comply with Fed. R. Civ. P. 26

because it fails to include a list of cases in which he has testified during the previous four years.

Defendants point out this was an error which was remedied when Scotts identified and provided

the deposition transcript from the one case Dr. Hopkins was involved in previously, more than a

week before Dr. Hopkins’s deposition in this case. The Court therefore concludes the failure to

comply with Rule 26 was harmless and does not justify exclusion.

        Plaintiffs next argue Dr. Hopkins is a “potato specialist” and not a turfgrass specialist,

and that he made errors regarding turfgrass physiology, such that he is not qualified to offer

expert opinion testimony in this case. The “Qualifications Summary” included in Dr. Hopkins’s

report belies this assertion. Dr. Hopkins holds an “A.A.S. degree in Horticulture with a

Turfgrass Science specialty” from Brigham Young University (“BYU”) and he has a Ph.D. in

Agronomy from Kansas State University. He is a professor at BYU, where he teaches

“undergraduate and graduate courses in Turfgrass Science,” among other things, and he

“consult[s] extensively with agricultural and turfgrass clients.” (Defs.’ Ex. 9, Hopkins Report,

¶¶ 2-5). Just because Dr. Hopkins has held himself out as a “potato specialist” elsewhere and

because plaintiffs’ expert has identified “errors,” does not preclude Dr. Hopkins from being

qualified as a “turfgrass specialist” here. The Court has reviewed Dr. Hopkins’s resume and

report and concludes he is qualified to testify as a turfgrass specialist at trial.

        Finally, plaintiffs argue Dr. Hopkins’s analysis is irrelevant to the issues in this case for

several reasons. In particular, they argue:

        •       Dr. Hopkins “did not report the results of any tests of EZ Seed as sold to
                consumers.” (Pls.’ Br. at 4).

        •       Dr. Hopkins’s “tests are not representative of how consumers use EZ Seed”
                because, among other things, he planted the seed in 3-inch pots instead of planting




                                                   27
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 28 of 38



               them directly into the ground. These pots did not permit proper drainage, thus
               keeping the soil artificially wet. (Pls.’ Br. at 4-5).

       •       Dr. Hopkins “failed to conduct any testing at half the recommended rate for
               watering ordinary seed” because he saturated the pots from the bottom-up, he did
               not calculate the amount of water used for the initial saturation, he exceeded the
               rate of watering ordinary seed, his water loss method was flawed, and his tests
               cannot be replicated. (Pls.’ Br. at 4-10).

       •       Dr. Hopkins did not review Dr. Hignight or Scotts’ own trials, rendering invalid
               his criticisms of Dr. Karcher’s review of them. (Pls.’ Br. at 11-12).

       Ultimately, much like the defendants’ criticisms of Dr. Karcher’s opinions, the Court

concludes each of plaintiffs’ attacks on Dr. Hopkins’s methodologies go to the weight, not the

admissibility of his testimony. Dr. Hopkins’s analysis and opinions are relevant to a central

issue in the case—whether the 50% thicker claim is misleading—and they will help a jury better

understand that issue. In addition, defendants have met their burden of showing that Dr. Hopkins

used scientific data and reliable principles and methods which were reliably applied. Plaintiffs

are welcome to attack the specifics of those methods on cross-examination at trial.

       Accordingly, the Court declines to exclude Dr. Hopkins’s opinions.

       G.      Plaintiffs’ Motion to Exclude Scotts from Offering Expert Testimony Regarding
               Price Premium

       Plaintiffs next seek to preclude defendants from “offering any opinion on the existence or

amount of the price premium associated with the 50% Thicker Claim.” (Pls. Br. at 1). This is

essentially a Daubert motion to exclude defendants’ damages experts, Jesse David, Ph.D., Jacob

Jacoby, Ph.D., and David Reibstein, Ph.D., from testifying regarding the price premium issue.

       Plaintiffs argue that because Dr. David, Dr. Jacoby, and Dr. Reibstein did not attempt to

isolate the price premium attributable to the 50% thicker claim, Scotts should not be permitted to

offer any expert opinion on the existence or amount of the price premium. Defendants counter

that neither Dr. Jacoby nor Dr. Reibstein intends to testify concerning the existence of a price



                                                28
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 29 of 38



premium; rather, they plan to testify regarding plaintiffs’ experts’ analysis of the price premium,

and why they believe those analyses are “fatally flawed.” (Defs’. Br. at 3). Defendants state Dr.

David is a “possible exception” because he conducted a “difference-in-differences analysis” and

“conclude[d] that there was no price premium attributable to the 50% thicker Claim.” (Defs.’ Br.

at 2, n.3). Plaintiffs argue Dr. David’s opinions should be excluded because he failed to control

for several variables—including that Scotts continued to use a different label relating to growing

grass 50% thicker (namely “50% thicker With Less Water”) on secondary packaging; the 50%

thicker label was replaced by a new “6x claim” (that EZ Seed “holds up to 6X its weight in

water”) (Pls. Br. at 4); the product did not “sell in more volumes” post-January 2014 as Dr.

David’s report states (id. at 6); and grass seed prices increased market-wide from 2013-2014.

Plaintiffs otherwise do not critique Dr. David’s qualifications or methodology.

       The Court concludes Dr. Jacoby’s and Dr. Reibstein’s testimony regarding critiques of

plaintiffs’ experts’ price premium analysis is highly relevant to the issues in the case. Nature’s

Plus Nordic A/S v. Nat. Organics, Inc., 982 F. Supp. 2d 237, 239 (E.D.N.Y. 2013) (“expert

opinions . . . which assess or critique another expert’s substantive testimony are relevant,” and

“need not provide an independent analysis.”) (internal quotations and citations omitted).

Accordingly, and because plaintiffs do not critique these experts’ actual methodology, the Court

concludes exclusion of these opinions would be inappropriate. With respect to Dr. David, the

Court concludes his choices to control for certain factors but not others do not render his

opinions or testimony inadmissible. Any such critiques may be adequately addressed on cross-

examination at trial.




                                                 29
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 30 of 38



        H.      Plaintiffs’ Motion to Exclude Scotts from Offering Expert Testimony Regarding
                Consumer Understanding

        Plaintiffs argue the Court should not permit defendants’ experts Dr. Jacoby or Dr.

Reibstein to testify regarding how consumers understood the 50% thicker claim because they did

not conduct any consumer surveys of their own to counter Dr. Dennis’s consumer survey, or the

Smith-Dahmer survey, on which plaintiffs also rely. However, plaintiffs fail to assert any valid

reasons under Rule 702 or Daubert for why this testimony should be excluded. Moreover, Dr.

Jacoby’s and Dr. Rubinstein’s critiques of Dr. Dennis’s analysis are relevant and will assist the

jury in evaluating central issues in this case, regardless of whether they do their own analyses on

the same points. Nature’s Plus Nordic A/S v. Nat. Organics, Inc., 982 F. Supp. 2d at 239. As a

result, plaintiffs’ arguments, in addition to those raised for the first time in their reply regarding

the testimony of Ann Dahmer, of the the Smith-Dahmer survey, are best addressed in motions in

limine or on cross-examination at trial.

        I.      Plaintiffs’ Motion to Exclude Eric Nelson and Michael Faust

        Finally, plaintiffs move, pursuant to Rule 702 and Daubert, to preclude Scotts from

offering the expert testimony of Eric Nelson and Michael Faust concerning EZ Seed’s

performance at half-water levels. Defendants counter that Daubert does not apply to Dr. Nelson

and Faust’s testing of EZ Seed because they are fact witnesses, and their testimony relates to

“facts about testing not prepared for litigation.” (Defs.’ Br. at 3). In the alternative, defendants

argue Dr. Nelson and Faust’s tests are admissible under Daubert.

        Defendants represent that “[n]either Dr. Nelson nor Mr. Foust is a retained expert

witness, and their testimony relates [to] facts about testing not prepared for litigation.” (Defs.’

Br. at 3). The Court understands from this that Dr. Nelson and Foust will be treated as fact

witnesses and as such, the admissibility of any opinion testimony they may be asked to provide



                                                  30
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 31 of 38



at trial will be evaluated under Federal Rule of Evidence 701 (“If a witness is not testifying as an

expert, testimony in the form of an opinion is limited to one that is: (a) rationally based on the

witness’s perception; (b) helpful to clearly understanding the witness’s testimony or to

determining a fact in issue; and (c) not based on scientific, technical, or other specialized

knowledge within the scope of Rule 702.”) and not under Rule 702.

       Based on that understanding and because deciding plaintiffs’ Daubert motion with

respect to Dr. Nelson and Foust is not necessary for deciding the parties’ cross-motions for

summary judgment, plaintiffs’ motion to preclude the testimony of Dr. Nelson and Foust is

denied without prejudice. Plaintiffs will be permitted to raise objections to particular questions

at trial. See In re Gen. Motors LLC Ignition Switch Litig., 2017 WL 2664199, at *4 (Denying a

Daubert motion “without prejudice to objection at trial should [plaintiff] believe that [defendant]

crosses the line by eliciting” certain opinions from the witness.).

       Plaintiffs also move to strike eight paragraphs of Dr. Nelson’s declaration and one exhibit

he relied on. (Doc. #229). They argue certain statements should be stricken under Daubert,

others should be stricken because they contradict previous deposition testimony, and the exhibit

should be stricken because it was not produced in the context of discovery. Defendants respond

that the paragraphs in question do not contradict Dr. Nelson’s deposition testimony, are based on

his personal observations and knowledge, and that they produced the exhibit in question at a late

stage in response to an argument by plaintiffs raised for the first time post-discovery.

       At this juncture, the Court rejects plaintiffs’ argument that the disputed paragraphs and

exhibit render Dr. Nelson’s affidavit a “sham.” (Pls.’ Br. at 2). The Court denies plaintiffs’

motion without prejudice to renewal at the motions in limine stage or at trial, if appropriate.




                                                 31
       Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 32 of 38



III.     Summary Judgment on the 50% Thicker Claim

         The Court incorporates by reference the standards for summary judgment provided

above.

         A.      Defendants’ Motion for Summary Judgment

         The Court has already addressed the first three arguments in defendants’ motion for

summary judgment—namely, the “worthlessness” claim, the California safe harbor, and New

York statutory damages. Now that the relevant Daubert motions have been decided, the Court

turns to defendants’ argument that they are entitled to summary judgment on plaintiffs’ claim

that the 50% thicker claim is false or misleading.

         In particular, defendants argue plaintiffs cannot show class-wide injury stemming from

the 50% thicker claim, and that no jury reasonable could conclude the 50% thicker claim is false

or misleading.

         The Court disagrees.

         Defendants argue plaintiffs cannot prove “price premium” injury because they “have no

evidence—expert or otherwise—that Scotts was willing to sell EZ Seed for less” without the

50% thicker claim than it would with the claim included on its packaging. (Defs.’ Br. at 17). In

response, plaintiffs cite several categories of evidence addressing this point. For one, they cite

testimony by Scotts’ Vice President of Marketing, John Sass, who said the 50% thicker claim

was “the number one issue” for consumers because “the number one concern consumers have is

all around watering.” (Pls.’ SOF ¶ 2). 9 They also cite testimony of Scotts’ Director of



9
       Defendants have moved to strike plaintiffs Local Rule 56.1 statement. (Doc. #231). The
Court agrees with defendants that plaintiffs’ 56.1 statement is unnecessarily long, repetitive, and
contains some facts that do not appear to be material. Nevertheless, the 56.1 statement is helpful
in many respects and the Court sees no need to strike it in order to reach the substantive issues on
summary judgment, so it declines to do so. See Holtz v. Rockefeller & Co., 258 F.3d 62, 74 (2d


                                                 32
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 33 of 38



Marketing, Tiffany Peoples, who testified “[p]roduct claims were one of the many factors that

contributed to determining that this deserved to be a premium price.” (Regan Decl. Ex. 37,

Peoples Dep., at 143). 10 In addition, plaintiffs’ experts Dr. Dennis and Weir will further testify

regarding their analyses of the price premium. As a result, there is a material question of fact

regarding whether the price of EZ Seed would have been lower without the 50% thicker claim.

       Defendants also argue that when Scotts removed the 50% thicker label, the price went up,

not down. They say this definitively disproves plaintiffs’ 50% thicker claim. Defendants cite

their economics expert, Dr. David, for this proposition. Specifically, among other things, Dr.

David determined that EZ Seed’s price increased 7.5% between 2013 and 2014. However, as

plaintiffs point out, Dr. David’s analysis only looked at one variety of EZ Seed that was sold in

California, not in New York. (Pls. Opp. at 26, n.14). It is therefore of only limited relevance or

weight, especially now that the Court has dismissed most of the California claims. Moreover,

plaintiffs’ expert Weir analyzed price data and determined prices rose market-wide during this

period, which would also tend to undermine defendants’ argument on this point.


Cir. 2001) (“A district court has broad discretion to determine whether to overlook a party’s
failure to comply with local court rules.”).
10
         Peoples submitted a declaration in connection with the instant motions in which she
writes, “[i]f Scotts had not made the 50% thicker claim, EZ Seed’s invoice price and suggested
retail price would have been the exact same. Scotts was not willing to sell EZ Seed for any less
than the prices that it set in 2009.” (Regan Ex. 38 ¶ 5). A reasonable jury could conclude this
testimony is not credible, especially in light of Peoples’s seemingly contradictory deposition
testimony.

        Nevertheless, the Court rejects plaintiffs’ argument that the Peoples declaration, and that
of Peoples’s successor, Emily Winters, should be stricken under Rule 56(c)(4), or that defendants
should be ordered to pay sanctions under Rule 56(h). (Doc. #228). Because the Court denies
defendants’ motion for summary judgment, and because the Peoples and Winters declarations
are not dispositive on that or any other motion currently before the Court, the Court need not
decide plaintiffs’ motion to strike, and therefore denies it without prejudice. The Court denies
plaintiffs’ motion for sanctions with prejudice.



                                                 33
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 34 of 38



       Finally, defendants argue plaintiffs cannot show that the 50% thicker claim is false or

misleading. They argue none of plaintiffs’ three scientific experts “reliably demonstrates that the

50% Thicker claim is false or misleading.” (Defs.’ Br. at 23). Defendants also point to their

own and other third party trials that they claim “substantiate the 50% thicker claim.” (Id. at 27).

However, defendants’ own briefing belies their argument. For example, they admit “Scotts’ own

scientists freely admit that not every trial within the 11 claim book tests could substantiate the

claim standing alone.” (Defs.’ Br. at 27). As another example, they argue each of three tests

they retained professors to conduct showed “at half water rates” EZ Seed “grew 50% thicker

than ordinary seed at that same watering level.” (Id. at 28). However, they include a

parenthetical which states “in the case of bermudagrass grown in hot climates, twice daily

watering is often recommended, and once daily would be half that recommendation.” (Id.

(emphasis added)). They do not include a citation for this “fact” nor do they explain what a

recommendation that is “often” made means in concrete terms. Moreover, plaintiffs have

presented evidence on which a reasonable jury could rely to conclude the 50% thicker claim is

false or misleading. For example, the consumer perception survey conducted by Dr. Dennis

shows that 61% of consumers surveyed expected that based on the 50% thicker claim EZ Seed

“would perform better with less water than it would with more water.” (Dennis Report ¶ 42).

       Accordingly, there are issues of material fact which preclude summary judgment for

defendants on the 50% thicker claim.

       B.      Plaintiffs’ Partial Motion for Summary Judgment

       Plaintiffs argue they are entitled to summary judgment on their New York GBL claims.

       The Court disagrees.




                                                 34
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 35 of 38



       As noted in the Court’s decision certifying the classes here, to establish a prima facie case

under GBL Section 349, “a plaintiff must demonstrate that (1) the defendant’s deceptive acts

were directed at consumers, (2) the acts are misleading in a material way, and (3) the plaintiff

has been injured as a result.” Maurizio v. Goldsmith, 230 F.3d 518, 521 (2d Cir. 2000). The

same analysis applies to false advertising claims brought under Section 350. Id.; see also

Goshen v. Mut. Life Ins. Co. of N.Y., 98 N.Y.2d 314, 324 n.1 (2002).

       First and foremost, the Court concludes that because there are issues of material fact

regarding whether the 50% thicker claim is misleading in a material way, summary judgment is

inappropriate here. For example, plaintiffs cite the Smith-Dahmer Associates survey as evidence

that consumers “understood the Half-Water Claim to mean EZ Seed required less frequent

watering, less time spent watering, or both.” (Pls.’ Br. at 6). But, as defendants point out, that

survey did not include the “whole claim” because it does not include the language “[v]ersus

ordinary seed when each was watered at half the recommended rate”; the alternative language

appearing on some packaging, “[r]esults 32 days after planting; each watered at half the

recommended rate for ordinary seed”; or the language appearing on both versions, “[r]esults may

vary.” (See Pls.’ Ex. E; Defs.’ Response to Pls.’ SOF ¶ 10). Plaintiffs also rely on their expert

Dr. Dennis’s consumer survey to support their argument. But, as discussed above, defendants

have offered many relevant critiques of Dr. Dennis’s survey that ultimately must be weighed by

the trier of fact. In short, a reasonable jury could conclude the 50% thicker claim was not

misleading.

       In addition, there are issues of material fact with respect to the question of injury.

Although the Court has concluded plaintiffs have offered some evidence of price premium—in

the form of Dr. Dennis’s report and relevant testimony—this does not mean a reasonable jury




                                                 35
      Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 36 of 38



will necessarily side with plaintiffs on the ultimate issue and conclude consumers were injured

by the 50% thicker label. In addition, there is some evidence, albeit disputed by plaintiffs, that

the price of EZ Seed went up after Scotts removed the 50% thicker label. This would tend to

show consumers were not injured by the label.

       Accordingly, the Court concludes summary judgment for plaintiffs is inappropriate here.

IV.    Decertification Motion

       Defendants argue the class must be decertified for two reasons: (i) plaintiffs cannot

prove price premium injury or damages on a class-wide basis, and (ii) no class can recover

statutory damages under New York law.

       The Court disagrees.

       “[A] district court may decertify a class if it appears that the requirements of Rule 23 are

not in fact met.” Sirota v. Solitron Devices, Inc., 673 F.2d 566, 572 (2d Cir. 1982). However,

“the Court may not disturb its prior [certification] findings absent ‘some significant intervening

event,’ or ‘a showing of compelling reasons to reexamine the question.’” Doe v. Karadzic, 192

F.R.D. 133, 136–137 (S.D.N.Y. 2000) (internal citations omitted).

       With respect to defendants’ first argument—that individual questions predominate

because plaintiffs cannot prove injury or damages on a class-wide basis—as the Court has

concluded, Dr. Dennis’s surveys offer reliable and relevant expert opinions on the issue of

injury. In particular, Dr. Dennis’s survey shows that 94.5% of respondents would choose the

combination grass seed product with the 50% thicker claim over the same product without that

claim and, assuming the product with the claim sold for $15, they would not have been willing to

spend $15 for the product without the 50% thicker label. This would tend to prove injury under

New York law:




                                                 36
      Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 37 of 38



        New York law does not require that the injury must be proven with a specified
        degree of certitude; a plaintiff is only required to show ‘that plaintiffs paid more
        than they would have for the good [because of] the deceptive practices of the
        defendants-sellers.’ ‘A plaintiff must allege that, on account of a materially
        misleading practice, she purchased a product and did not receive the full value of
        her purchase.’

Kurtz v. Kimberly-Clark Corp., 2017 WL 1155398, at *57 (quoting Orlander v. Staples, Inc.,

802 F.3d 289, 302 (2d Cir. 2015)).

        As a result, if EZ Seed is proven not to grow grass 50% thicker with half the water, “then

all consumers were injured by being overcharged. This question predominates.” Kurtz v.

Kimberly-Clark Corp., 2017 WL 1155398, at *55. That is because “[a]ll that is required at class

certification is that ‘the plaintiffs must be able to show that their damages stemmed from the

defendant’s actions that created the legal liability.’” Sykes v. Mel S. Harris & Assocs. LLC, 780

F.3d 70, 88 (2d Cir. 2015) (quoting Leyva v. Medline Indus. Inc., 716 F.3d 510, 514 (9th Cir.

2013)); see also Ebin v. Kangadis Food Inc., 297 F.R.D. 561, 569 (S.D.N.Y. 2014) (concluding

“that the common actual injury consisted of the payment of the price of olive oil for a product

that was pomace oil and the associated receipt of an inferior product different from that which

the consumers purchased”).

        Finally, the Court has already addressed and rejected defendants’ second argument—that

no class can recover statutory damages under New York law. Because statutory damages are

available for the New York class in this case, the damages calculation for the New York class

may be proved on a class-wide basis.

        The Court concludes, therefore, that the requirements of Rule 23 are still met—most

significantly there are common questions of law and fact, those questions predominate over

individualized issues, and plaintiffs’ damages calculations are consistent with their theory of

liability.



                                                 37
     Case 7:12-cv-04727-VB-PED Document 317 Filed 08/08/17 Page 38 of 38



       Accordingly, defendants’ motion to decertify the class is denied.

                                         CONCLUSION

       Defendants’ motion to exclude the testimony of plaintiffs’ damages expert Colin B. Weir

is GRANTED in part and DENIED in part. The remainder of the Daubert motions and motions

to strike are DENIED.

       Defendants’ motion for summary judgment is GRANTED in part and DENIED in part.

       Plaintiffs’ partial motion for summary judgment is DENIED.

       Defendants’ motion to decertify the class is DENIED.

       All counsel are directed to appear for an in-person status conference on September 22,

2017, at 2:15 p.m., at which time the Court expects to set a trial date and a schedule for pretrial

submissions.

       By September 15, 2017, the parties shall submit a Joint Pretrial Order in accordance with

the Court’s Individual Practices.

       The Clerk is instructed to terminate the motions. (Docs. ##216, 217, 218, 219, 220, 221,

222, 223, 224, 225, 226, 227, 228, 229, 231).

Dated: August 7, 2016
       White Plains, NY

                                              SO ORDERED:




                                              ____________________________
                                              Vincent L. Briccetti
                                              United States District Judge




                                                 38
